                                                                   Case 8:16-bk-15157-CB         Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53              Desc
                                                                                                  Main Document    Page 1 of 10


                                                                    1 WEILAND GOLDEN GOODRICH LLP
                                                                      Jeffrey I. Golden, State Bar No. 133040
                                                                    2 jgolden@wgllp.com
                                                                      Faye C. Rasch, State Bar No. 253838
                                                                    3 frasch@wgllp.com
                                                                      Ryan W. Beall, State Bar No. 313774
                                                                    4 rbeall@wgllp.com
                                                                      650 Town Center Drive, Suite 600
                                                                    5 Costa Mesa, California 92626
                                                                      Telephone      714-966-1000
                                                                    6 Facsimile      714-966-1002

                                                                    7 Attorneys for Chapter 7 Trustee
                                                                      Thomas H. Casey
                                                                    8

                                                                    9                             UNITED STATES BANKRUPTCY COURT
                                                                   10                              CENTRAL DISTRICT OF CALIFORNIA
                                                                   11                                       SANTA ANA DIVISION
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 In re                                               Case No. 8:16-bk-15157-CB
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 Mt. Yohai, LLC, a Delaware limited liability        Chapter 7
                                                                      company,
                                                                   14                                                     REPLY TO [ALLEGED] SECURED
                                                                                   Debtor.                                CREDITOR BOWERY INVESTMENT
                              Tel 714-966-1000




                                                                   15                                                     GROUP, INC. dba BOWERY DESIGN &
                                                                                                                          DEVELOPMENT'S OPPOSITION TO
                                                                   16                                                     MOTION FOR ORDER AUTHORIZING
                                                                                                                          SALE OF REAL PROPERTY FREE AND
                                                                   17                                                     CLEAR OF ALL LIENS, CLAIMS, AND
                                                                                                                          ENCUMBRANCES
                                                                   18
                                                                                                                          DATE: December 11, 2018
                                                                   19                                                     TIME:  2:30 p.m.
                                                                                                                          PLACE: Courtroom 5D
                                                                   20                                                            411 West Fourth Street
                                                                                                                                 Santa Ana, CA 92701
                                                                   21

                                                                   22

                                                                   23 TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY

                                                                   24 JUDGE, AND ALL PARTIES IN INTEREST:

                                                                   25           Thomas H. Casey, the duly appointed, qualified and acting chapter 7 trustee ("Trustee") for
                                                                   26 the bankruptcy estate ("Estate") of Mt. Yohai, LLC ("Debtor"), files this Reply to [Alleged]

                                                                   27 Secured Creditor Bowery Investment Group, Inc. dba Bowery Design & Development's

                                                                   28 (“Bowery”) Opposition ("Opposition") to Motion For Order Authorizing Sale of Real Property
                                                                        1197425.1                                                                                    REPLY
                                                                   Case 8:16-bk-15157-CB            Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53               Desc
                                                                                                     Main Document    Page 2 of 10


                                                                    1 Free and Clear of All Liens, Claims, and Encumbrances ("Motion"). In support of the Reply, the

                                                                    2 Trustee submits the following memorandum of points and authorities.

                                                                    3

                                                                    4 I.        INTRODUCTION
                                                                    5           As was explained in the Motion, the mechanic's lien that purported to form the basis for

                                                                    6 Bowery's secured claim was not perfected. Accordingly, Bowery's mechanic's lien is void,

                                                                    7 unenforceable and cannot form the basis for a secured claim. In light of the fact that Bowery does

                                                                    8 not have a secured claim in the property commonly known as 2521 Nottingham Avenue, Los

                                                                    9 Angeles, California 90027 (“Property”), there is no just cause for Bowery to object to the proposed

                                                                   10 sale.

                                                                   11 II.       BOWERY’S SECURED CLAIM IS INVALID
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12           A.        The Stipulation Giving Rise to the Secured Claim Impermissibly Granted
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                     Rights to Bowery
                                                                   14           The Trustee has filed a Motion to Reconsider Order Approving Stipulation Between Debtor
                              Tel 714-966-1000




                                                                   15 and Secured Creditor Bowery Investment Group, Inc. dba Bowery Design and Development

                                                                   16 (“Reconsideration Motion”) asking the Court to reconsider its order approving the stipulation

                                                                   17 between Debtor and Bowery that granted Bowery a $522,000.00 secured claim (“Stipulation”). The

                                                                   18 Reconsideration Motion explains in detail that the Stipulation was improper because the secured

                                                                   19 claim was granted on the basis of a void and unenforceable mechanic's lien. In opposing the

                                                                   20 Reconsideration Motion, Bowery does not dispute the assertion that its lien was unperfected, but

                                                                   21 rather makes two failing arguments as to why its claim should stand.

                                                                   22               First, Bowery argues that the construction project was still on going, thus Bowery could

                                                                   23 have released the mechanic's lien attached to its Proof of Claim and recorded a new lien, restarting

                                                                   24 the time period to perfect a lien. Second, Bowery argues that Debtor told Bowery of its intention to

                                                                   25 file bankruptcy prior to the expiration of the 90-day deadline to perfect its mechanic's lien,

                                                                   26 therefore Bowery was "effectively estopped" from timely foreclosing on the mechanic's lien.

                                                                   27 Neither of these arguments are supported by applicable law.

                                                                   28
                                                                        1197425.1                                            2                                          REPLY
                                                                   Case 8:16-bk-15157-CB             Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                     Desc
                                                                                                      Main Document    Page 3 of 10


                                                                    1                     1.       Bowery Was Not Entitled to Release its Lien and Record a New Lien at
                                                                    2                              the Time of the Stipulation
                                                                    3             Bowery does not cite any authorities, statutory or otherwise, to support its claim that it

                                                                    4 could have released its mechanic's lien, recorded a new lien, and restarted the time to perfect its

                                                                    5 lien at the time of the Stipulation. Primarily, it is important to note the timeline of the events.

                                                                    6 Bowery recorded a Claim of Mechanic's Lien on August 26, 2016. The Debtor commenced this

                                                                    7 bankruptcy proceeding on December 21, 2016. The Stipulation was filed on August 25, 2017. The

                                                                    8 last day that work was done on the property appears to be July 28, 2016.1

                                                                    9             The parties agree that the law clearly states that for its mechanic's lien to be perfected,

                                                                   10 Bowery was required to properly perfect the lien under Cal. Code Civ. Proc. § 8460(a), which

                                                                   11 requires commencement of an action to enforce the lien within 90 days of recordation of the claim
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 of mechanic's lien. It is undisputed that no commencement of an action to enforce the lien ever
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 occurred. Cal. Code Civ. Proc. § 8460(a) clearly mandates that if no action is commenced within

                                                                   14 that 90-day period, the claim of lien expires and is unenforceable. As a result, Bowery's lien, the
                              Tel 714-966-1000




                                                                   15 same lien that was the subject of the August 25, 2017 Stipulation, had legally expired and become

                                                                   16 unenforceable on approximately November 25, 2016, approximately a month prior to the filing of

                                                                   17 the bankruptcy petition and over 9 months prior to the filing of the Stipulation.

                                                                   18             Bowery claims that, but for the Stipulation, Bowery could have recorded a new lien, and

                                                                   19 moved to perfect the new lien. This creates a conundrum for Bowery. Bowery must argue that the

                                                                   20 Court should not consider the evidence before it, namely that the last day of work was July 28,

                                                                   21 2016. Pursuant to Cal. Civ. Code § 3116, Bowery was required to record its claim of lien within 90

                                                                   22 days of cessation of the work performed. Thus, if the last day of work was July 28, 2016, then after

                                                                   23 approximately October 26, 20162, Bowery would be unable to record a claim of lien. Since this

                                                                   24

                                                                   25
                                                                            1
                                                                             This is the last date with a billing entry for time pursuant to the attachment to Bowery's Proof of Claim
                                                                   26
                                                                        No. 4-2.
                                                                   27       2
                                                                                90 days after cessation of work (July 28, 2016).

                                                                   28
                                                                        1197425.1                                                  3                                            REPLY
                                                                   Case 8:16-bk-15157-CB               Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                           Desc
                                                                                                        Main Document    Page 4 of 10


                                                                    1 deadline is pre-petition, clearly Bowery would not have had the right to, nearly a year later, record

                                                                    2 a new claim of lien long after the last day of work.

                                                                    3             Assuming Bowery is trying to assert that the last day of work was in fact a date within 90

                                                                    4 days of the petition date (even though there are no admissible facts to support this), so as to

                                                                    5 implicate the tolling doctrine, the last day of work would necessarily come after August 26, 20163.

                                                                    6 This would mean that the Claim of Mechanic's Lien filed August 26, 2016, was an improper claim

                                                                    7 of lien pursuant to Cal. Civ. Code § 3116 which provides that "in order to enforce a lien,

                                                                    8 [contractor] must record his claim of lien after he has ceased furnishing labor, services, equipment,

                                                                    9 or materials, and before the expiration of (a) 90 days after completion of the work. . ." Cal. Civ.

                                                                   10 Code § 3116 (emphasis added). Recordation of a claim of lien prior to the cessation of work is

                                                                   11 improper
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12             Furthermore, Bowery's argument that it could have recorded a new lien at some point after
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 August 25, 2017, more than a year after work stopped, is not supported by applicable law.

                                                                   14 Bowery's argument, although completely devoid of any authorities, statutory or otherwise,
                              Tel 714-966-1000




                                                                   15 necessarily relies upon the doctrine of tolling. Bowery has never argued that it actually perfected its

                                                                   16 lien. Bowery has never argued that it actually recorded a new claim of lien. Bowery only argues

                                                                   17 that it could have filed a new claim of lien at the time of the Stipulation. This is only possible if

                                                                   18 work was performed within 90 days of the filing of the petition and the time period for Bowery to

                                                                   19 file a claim of mechanic's lien was tolled or work actually was performed within 90 days of the

                                                                   20 filing of the Stipulation. Tolling does not operate to absolve Bowery of its requirement to file a

                                                                   21 claim of mechanic's lien within 90 days of cessation of work.

                                                                   22             Generally, the tolling doctrine in bankruptcy allows tolling of certain nonbankruptcy

                                                                   23 requirements when the automatic stay operates to estop the creditor from pursuing the necessary

                                                                   24 action to seek redress on its claims. However, the Ninth Circuit has dictated that mechanic's lien

                                                                   25 perfection is not subject to the tolling doctrine in bankruptcy. See John Hand v. Hunters Run

                                                                   26

                                                                   27
                                                                            3
                                                                                Since 90 days after August 26, 2016 (day of the recording of the Claim of Mechanic's Lien) was prior to the
                                                                   28 Petition Date.
                                                                        1197425.1                                                   4                                                   REPLY
                                                                   Case 8:16-bk-15157-CB                Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                             Desc
                                                                                                         Main Document    Page 5 of 10


                                                                    1 Limited Partnership (In re Hunters Run Ltd. Partnership), 875 F.2d 1425 (9th Cir. 1989). Hunters

                                                                    2 Run dealt with a contractor who furnished labor and materials to certain real property of the debtor

                                                                    3 in Washington State. There, the contractor actually recorded a claim of lien pre-petition, however

                                                                    4 the court held that "if [contractor] had not recorded his lien under [WA state law requiring

                                                                    5 mechanic's liens to be recorded] before the bankruptcy petition was filed, then in spite of section

                                                                    6 362(a)(4)'s language staying perfection of liens he could have filed notice of his lien with the

                                                                    7 bankruptcy court after the petition was filed because section 546(b) permits him to do so." In re

                                                                    8 Hunters Run Ltd. Partnership, 875 F.2d at 1428. Furthermore, the court specifically held that

                                                                    9 "'perfection' [is] exempted from section 362's stay by section 546(b)." Id. Thus, § 108 does not

                                                                   10 apply to toll the requirement of a contractor to perfect its lien within the required time frame

                                                                   11 because the automatic stay does not operate to prohibit a contractor from moving to perfect its lien,
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 including filing a notice of lien after commencement of a case. Therefore, no tolling would apply,
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 and Bowery would be required to file notice of its lien, arising from work allegedly performed after

                                                                   14 August 26, 2016, within 90 days of cessation of work, regardless of the existence of a bankruptcy
                              Tel 714-966-1000




                                                                   15 proceeding.

                                                                   16             Although Hunters Run ultimately found that the contractor's requirement to initiate a

                                                                   17 proceeding on behalf of its notice of lien4 was tolled, subsequent courts have decided that the

                                                                   18 automatic stay does not apply to forbid a contractor from issuing a notice of foreclosure or

                                                                   19 enforcement action. See In re Baldwin Builders, 232 B.R. 406 (9th Cir. B.A.P. 1999). The Baldwin

                                                                   20 Builders court held that, "Section 546(b) unambiguously mandates that, if commencement of an

                                                                   21 action is required to maintain or continue perfection, notice shall be given instead." Id. at 411.

                                                                   22 Actions taken to perfect a lien do not violate the automatic stay and contractors are required to take

                                                                   23 affirmative action to comply with the notice requirement. Id. at 414. It is clear that a contractor

                                                                   24 must perfect its lien according to the nonbankruptcy statutory requirements, and the automatic stay

                                                                   25 does not operate as a stay to perfection of liens. Thus, Bowery was required to file its "new" claim

                                                                   26

                                                                   27
                                                                            4
                                                                                Although, importantly, the requirement to give notice of a lien (i.e. a claim of mechanic's lien) was not tolled
                                                                   28 pursuant to § 108.
                                                                        1197425.1                                                     5                                                     REPLY
                                                                   Case 8:16-bk-15157-CB              Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                         Desc
                                                                                                       Main Document    Page 6 of 10


                                                                    1 of mechanic's lien within 90 days of cessation of work. If, as Bowery argues, the Stipulation

                                                                    2 induced Bowery to not file such "new" claim of mechanic's lien, such argument should only be

                                                                    3 even considered if Bowery also argues that (1) cessation of work did not occur until less than 90

                                                                    4 days before August 25, 2017 (date of the Stipulation), (2) Bowery did not violate the automatic stay

                                                                    5 by performing work post-petition for which it is now attempting to be paid5, and (3) Bowery's

                                                                    6 Claim of Mechanic's Lien filed August 26, 2016, was illegally filed before cessation of work.

                                                                    7             Upon the evidence before the Court however, Bowery filed a Claim of Mechanic's Lien on

                                                                    8 August 26, 2016. Bowery failed to perfect such lien by failing to file an action enforcing the lien

                                                                    9 within 90 days pursuant to Cal. Code Civ. Proc. § 8460(a). Bowery did not, and does not, have an

                                                                   10 unqualified right to release its lien and file a new lien; such new lien can only be filed within 90

                                                                   11 days of cessation of work pursuant to Cal. Civ. Code § 3116. The automatic stay does not operate
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 to prohibit a creditor from perfecting its lien, and thus tolling does not apply to the filing of a claim
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 of mechanic's lien, which courts have consistently held as a perfection action not an enforcement

                                                                   14 action. Contractors are required to file a notice of intention to enforce their lien within the time
                              Tel 714-966-1000




                                                                   15 period required, here 90 days from the filing of a claim of mechanic's lien, and the automatic stay

                                                                   16 operates only as a stay to actual enforcement, not the noticing of such proceeding. Therefore,

                                                                   17 Bowery did not have a valid lien, and could not have had a valid lien, as of the date of the

                                                                   18 Stipulation. Bowery's argument that it could have recorded a new lien is based upon no authority,

                                                                   19 and all authorities before this Court indicate that Bowery had no such right.

                                                                   20                      2.       Bowery Was Not "Effectively Estopped" From Timely Foreclosing on
                                                                   21                               the Mechanic's Lien
                                                                   22             Bowery’s other argument that it was effectively estopped from foreclosing on its lien

                                                                   23 because the Debtor intended to file a bankruptcy, also fails. Bowery has introduced no authority to

                                                                   24 support its argument. Bowery appears to argue that knowledge of a future bankruptcy proceeding

                                                                   25

                                                                   26

                                                                   27
                                                                            5
                                                                                And such work does not appear in any documents filed with the Court including both Bowery's proof of claim
                                                                   28 No. 4-1 and Bowery's amended proof of claim No. 4-2.
                                                                        1197425.1                                                  6                                                 REPLY
                                                                   Case 8:16-bk-15157-CB         Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                  Desc
                                                                                                  Main Document    Page 7 of 10


                                                                    1 implicates the automatic stay or some other imaginary stay, "effectively estopping" Bowery from

                                                                    2 foreclosing on its mechanic's lien.

                                                                    3           The California rules for filing and perfecting a mechanic's lien are clear. There is no rule

                                                                    4 prohibiting recording and perfecting a mechanic's lien simply because the contractor becomes

                                                                    5 aware that a bankruptcy case will be filed in the future. Instead, the calculus is quite simple. On or

                                                                    6 about November 25, 2016, 90 days had elapsed after the filing of the Claim of Mechanic's Lien.

                                                                    7 Bowery had not filed any action to enforce the mechanic's lien as required by Cal. Code Civ. Proc.

                                                                    8 § 8460(a). Therefore, the lien was void and unenforceable as of that date. No bankruptcy petition

                                                                    9 had been filed, and even if a bankruptcy petition had been filed, pursuant with the analysis above,

                                                                   10 Bowery would not have been excused from filing a notice of enforcement of the mechanic's lien.

                                                                   11           Bowery's knowledge of a future bankruptcy case is completely irrelevant. Not only would
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 such knowledge be irrelevant even if the filing of the bankruptcy case changed its rights with
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 respect to its requirement to perfect its mechanic's lien, but it is absolutely irrelevant where the

                                                                   14 filing of the bankruptcy case does not affect Bowery's rights and obligations with respect to its
                              Tel 714-966-1000




                                                                   15 mechanic's lien. Under no theory would knowledge of a future bankruptcy filing operate to absolve

                                                                   16 Bowery's of its requirement to perfect its lien in accordance with California law.

                                                                   17           Put simply, there is no theory upon which Bowery can claim that it had a valid lien, or

                                                                   18 could have a valid lien, at the time of the Stipulation. Thus, its alleged secured claim cannot form

                                                                   19 the basis for an objection to the sale of the Property.

                                                                   20

                                                                   21 III.      BOWERY ASSERTS NO VALID BASIS TO DENY THE MOTION
                                                                   22           Bowery’s unsupported assertions that the proceeds of the sale of the Property will be used

                                                                   23 only to fund administrative expenses should not be considered by the Court. This claim is both

                                                                   24 inaccurate and not met out by any concrete facts. Is Bowery really suggesting that $100,000 of

                                                                   25 income to the estate is inconsequential? Moreover, there is clear benefit to the Estate because the

                                                                   26 sale is satisfying the secured creditor and generating additional proceeds. Moreover, the Trustee

                                                                   27 has been advised that there will be an overbidder at the hearing which may lead to additional

                                                                   28 proceed generation for the Estate.
                                                                        1197425.1                                          7                                            REPLY
                                                                   Case 8:16-bk-15157-CB         Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                Desc
                                                                                                  Main Document    Page 8 of 10


                                                                    1           In addition, Bowery’s oblique reference to Section 363(f) should not be considered. Bowery

                                                                    2 does not specify what factors of this section have not been complied with, but merely suggests that

                                                                    3 a failure to comply with this section should prevent the sale. This does not make sense. Section

                                                                    4 363(f) is designed to facilitate sales notwithstanding disputed liens. The intent of the section is to

                                                                    5 assist the Debtor in proceeding with a sale -- not to prevent a sale from occurring. Here, there is no

                                                                    6 basis under Section 363(f) (and certainly not one articulated by Bowery) to deny the Motion.

                                                                    7

                                                                    8 IV.       CONCLUSION
                                                                    9           Accordingly, the Trustee respectfully requests the Court enter an order granting the Motion

                                                                   10 and Approving the Sale of Real Property.

                                                                   11                                                         Respectfully submitted,
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 Dated: December 4, 2018                                 WEILAND GOLDEN GOODRICH LLP
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13

                                                                   14                                                         By: /s/ Jeffrey I. Golden
                                                                                                                                      JEFFREY I. GOLDEN
                              Tel 714-966-1000




                                                                   15                                                                 FAYE C. RASCH
                                                                                                                                      RYAN W. BEALL
                                                                   16
                                                                                                                                      Counsel for Chapter 7 Trustee
                                                                   17                                                                 Thomas H. Casey

                                                                   18

                                                                   19

                                                                   20

                                                                   21

                                                                   22

                                                                   23

                                                                   24

                                                                   25

                                                                   26

                                                                   27

                                                                   28
                                                                        1197425.1                                         8                                            REPLY
        Case 8:16-bk-15157-CB                     Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                                      Desc
                                                   Main Document    Page 9 of 10



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                   650 Town Center Drive, Suite 600
                                                     Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Reply to [Alleged] Secured Creditor Bowery Investment Group,
Inc. dba Bowery Design & Development's Opposition to Motion for Order Authorizing Sale of Real Property of Real Property Free
and Clear of All Liens, Claims, and Encumbrances
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) December 4,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 4, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 4, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Served by Personal Delivery
Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/4/2018                      Victoria Rosales
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:16-bk-15157-CB                     Doc 265 Filed 12/04/18 Entered 12/04/18 17:24:53                                      Desc
                                                   Main Document    Page 10 of 10


TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Simon Aron saron@wrslawyers.com
Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
Jeffrey W Dulberg jdulberg@pszjlaw.com
Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
Richard Girgado rgirgado@counsel.lacounty.gov
Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
Chad V Haes chaes@marshackhays.com, 8649808420@filings.docketbird.com
Michael J Hauser michael.hauser@usdoj.gov
D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
Scott A Kron scott@kronandcard.com
Marc Y Lazo mlazo@whbllp.com
Richard A Marshack rmarshack@marshackhays.com, lbuchanan@marshackhays.com;8649808420@filings.docketbird.com
Sharon Oh-Kubisch sokubisch@swelawfirm.com, gcruz@swelawfirm.com;jchung@swelawfirm.com;csheets@swelawfirm.com
Faye C Rasch frasch@wgllp.com, kadele@wgllp.com;tziemann@wgllp.com
Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

SERVED BY UNITED STATES MAIL:
Mt Yohai, LLC
3991 MacArthur Blvd., Suite 125
Newport Beach, CA 92660

Bowery Design and Development
8581 Santa Monica Blvd., #204
West Hollywood, CA 90069




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
